                Case 2:21-cv-01551-TSZ Document 13 Filed 12/21/21 Page 1 of 6




 1                                                             THE HONORABLE THOMAS S. ZILLY
 2

 3

 4

 5

 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 8

 9   DIBAKAR BARUA, Individually and on                    No. 2:21-CV-01551-TSZ
     Behalf of All Others Similarly Situated,
10                                                         STIPULATION AND ORDER (1)
                                      Plaintiff,           EXTENDING TIME TO RESPOND
11                                                         TO COMPLAINT; (2)
                      v.                                   ADJOURNING DISCOVERY
12                                                         DEADLINES; AND (3) SETTING
     ZILLOW GROUP, INC., RICHARD                           BRIEFING SCHEDULE ON ANY
13   BARTON, ALLEN PARKER, AND JEREMY                      MOTION TO DISMISS
     WACKSMAN,
14
                                      Defendants.
15

16           Plaintiff Dibakar Barua ("Plaintiff") and Defendants Zillow Group, Inc., Richard Barton,

17   Allen Parker, and Jeremy Wacksman (collectively, "Defendants") hereby stipulate and agree as

18   follows:

19           WHEREAS, on November 16, 2021, Plaintiff filed the complaint in the above-captioned

20   action ("Action"), a putative class action arising under the Securities Exchange Act of 1934

21   ("Exchange Act"), as amended by the Private Securities Litigation Reform Act of 1995 (the

22   "PSLRA"), 15 U.S.C. § 78u-4, against Defendants;

23           WHEREAS, Section 21D(a)(3)(A)(i) of the PSLRA, 15 U.S.C. 78u-4(a)(3)(A)(i),

24   requires a plaintiff to cause a public notice to be filed within 20 days of filing a putative class

25   action that arises under the PSLRA, which notice Plaintiff published on November 16, 2021;

26

     STIPULATION EXTENDING TIME TO RESPOND TO                                            Perkins Coie LLP
     COMPLAINT AND SETTING BRIEFING SCHEDULE                                       1201 Third Avenue, Suite 4900
     (No. 2:21-cv-01551-TSZ) – 1                                                      Seattle, WA 98101-3099
                                                                                       Phone: (206) 359-8000
                                                                                        Fax: (206) 359-9000
               Case 2:21-cv-01551-TSZ Document 13 Filed 12/21/21 Page 2 of 6




 1           WHEREAS, on November 18, 2021, the Court entered an Order Regarding Initial
 2   Disclosures, Joint Status Report, and Early Settlement (Dkt #4) in the Action setting January 3,
 3   2022 as the deadline for the Federal Rule of Civil Procedure 26(f) Conference and January 18,
 4   2022 as the deadline for initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1)
 5   and the filing of a Combined Joint Status Report and Discovery Plan pursuant to Federal Rule of
 6   Civil Procedure 26(f) and Local Rules W.D. Wash. LCR 26(f);
 7           WHEREAS, on November 19, 2021, a second complaint alleging substantially similar
 8   allegations as those alleged in this Action was filed, deemed related, and is currently pending
 9   before this Court, see Silverberg v. Zillow Group, Inc., et al., No. 2:21-cv-01567-TSZ (W.D.
10   Wash.) ("Silverberg Action");
11           WHEREAS, any purported class member has 60 days from the date the notice was
12   published to move the Court to serve as lead plaintiff on behalf of the putative class, 15 U.S.C. §
13   78u-4(a)(3)(A)(i)(II), making lead plaintiff motions due January 18, 2022;
14           WHEREAS, the PSLRA also provides that, "[i]f more than one action on behalf of a
15   class asserting substantially the same claim or claims arising under [the Exchange Act] has been
16   filed, and any party has sought to consolidate those actions," the Court shall make a
17   determination regarding consolidation before appointing the lead plaintiff, 15 U.S.C. § 78u-
18   4(a)(3)(B)(ii);
19           WHEREAS, the parties anticipate that, concurrent with the process for appointing a lead
20   plaintiff, one or more proposed lead plaintiffs will also move to consolidate this Action with the
21   Silverberg Action;
22           WHEREAS, the parties anticipate that the Court-appointed lead plaintiff will file an
23   amended complaint and that Defendants will file motion(s) to dismiss the amended complaint;
24           WHEREAS, the filing of initial disclosures and a discovery plan would be premature
25   because all discovery, including initial disclosures, in this Action is subject to the discovery stay
26   provisions of the PSLRA. See 15 U.S.C. § 78u-4(b)(3)(B) ("all discovery and other proceedings
     STIPULATION EXTENDING TIME TO RESPOND TO                                          Perkins Coie LLP
     COMPLAINT AND SETTING BRIEFING SCHEDULE                                     1201 Third Avenue, Suite 4900
     (No. 2:21-cv-01551-TSZ) – 2                                                    Seattle, WA 98101-3099
                                                                                     Phone: (206) 359-8000
                                                                                      Fax: (206) 359-9000
                    Case 2:21-cv-01551-TSZ Document 13 Filed 12/21/21 Page 3 of 6




 1   shall be stayed during the pendency of any motion to dismiss, unless the court finds upon the
 2   motion of any party that particularized discovery is necessary to preserve evidence or to prevent
 3   undue prejudice to that party"); and
 4             WHEREAS, undersigned counsel for Defendants hereby accepts service of summons on
 5   behalf of each of the Defendants, without waiving any defenses other than sufficiency of service;
 6             WHEREAS, the parties agree that in the interests of judicial economy, conservation of
 7   time and resources, and orderly management of this Action, no response to any pleading in this
 8   Action, including any motion brought pursuant to Federal Rule of Civil Procedure 12, should
 9   occur until after a lead plaintiff and lead counsel are appointed by the Court pursuant to the
10   PSLRA and an amended complaint has been filed or an operative complaint designated;
11             NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between
12   the undersigned counsel for the undersigned parties, subject to Court approval, as follows:
13             1.       Counsel for Defendants accepts service of process for all Defendants in this
14   Action. Defendants' acceptance of service does not waive any of the Defendants' rights or
15   defenses in this action, including, but not limited to, any jurisdictional defense, including lack of
16   personal jurisdiction, other than as to the sufficiency of service.
17             2.       Defendants are not required to respond to the complaint previously filed in this
18   Action.
19             3.       After the appointment of a lead plaintiff pursuant to 15 U.S.C. § 78u-4(a)(3)(B),
20   lead plaintiff and Defendants shall promptly meet and confer regarding a schedule for the filing
21   of a consolidated complaint or designation of an operative complaint, and a briefing schedule for
22   Defendants' anticipated motion(s) to dismiss. The parties shall meet and confer and submit a
23   joint stipulation with a proposed schedule no later than fourteen (14) business days following the
24   appointment of lead plaintiff.
25             4.       Pursuant to the discovery stay provisions of the PSLRA, all discovery related
26   deadlines are vacated until after a ruling on the Defendants' anticipated motion to dismiss.
     STIPULATION EXTENDING TIME TO RESPOND TO                                           Perkins Coie LLP
     COMPLAINT AND SETTING BRIEFING SCHEDULE                                      1201 Third Avenue, Suite 4900
     (No. 2:21-cv-01551-TSZ) – 3                                                     Seattle, WA 98101-3099
                                                                                      Phone: (206) 359-8000
                                                                                       Fax: (206) 359-9000
                  Case 2:21-cv-01551-TSZ Document 13 Filed 12/21/21 Page 4 of 6




 1           5.       Nothing herein shall be deemed to constitute a waiver of any rights, defenses,
 2   objections or any other application to any court that any party may have with respect to the
 3   claims set forth in the complaint filed in this Action.
 4

 5   DATED: December 20, 2021

 6    By: s/ Benjamin T.G. Nivision                            By: s/ Sean C. Knowles
 7    Benjamin T.G. Nivision, WSBA Bar No. 39797               Sean C. Knowles, WSBA No. 39893
      ROSSI VUCINOVICH, P.C.                                   PERKINS COIE LLP
 8    1000 2nd Ave #1780                                       1201 Third Avenue, Suite 4900
      Seattle, WA 98104                                        Seattle, WA 98101
 9    Telephone: (425) 646-8003                                Telephone: (206) 359-8000
      Facsimile: (425) 646-8004                                Facsimile: (206) 359-9000
10    bnivison@rvflegal.com                                    SKnowles@perkinscoie.com
11
      Robert V. Prongay                                        Of Counsel:
12    Charles H. Linehan
      Pavithra Rajesh                                          Peter B. Morrison (pro hac vice application
13    GLANCY PRONGAY & MURRAY LLP                              forthcoming)
      1925 Century Park East, Suite 2100,                      Virginia F. Milstead (pro hac vice
14    Los Angeles, CA 90067                                    application forthcoming)
                                                               Raza Rasheed (pro hac vice application
15    Telephone: (310) 201-9150                                forthcoming)
      Facsimile: (310) 201-9160                                SKADDEN, ARPS, SLATE, MEAGHER
16    rprongay@glancylaw.com                                   & FLOM, LLP
      clinehan@glancylaw.com                                   300 South Grand Avenue, Ste. 3400
17    prajesh@glancylaw.com                                    Los Angeles, CA 90071
                                                               Telephone: (213) 687-5000
18    Counsel for Plaintiff                                    Facsimile: (213) 521-5000
                                                               Peter.Morrison@skadden.com
19                                                             Virginia.Milstead@skadden.com
20                                                             Raza.Rasheed@skadden.com

21                                                             Counsel for Defendants
                                                               Zillow Group, Inc., Richard Barton,
22                                                             Allen Parker, and Jeremy Wacksman
23

24

25

26
     STIPULATION EXTENDING TIME TO RESPOND TO                                         Perkins Coie LLP
     COMPLAINT AND SETTING BRIEFING SCHEDULE                                    1201 Third Avenue, Suite 4900
     (No. 2:21-cv-01551-TSZ) – 4                                                   Seattle, WA 98101-3099
                                                                                    Phone: (206) 359-8000
                                                                                     Fax: (206) 359-9000
               Case 2:21-cv-01551-TSZ Document 13 Filed 12/21/21 Page 5 of 6




 1                                              ORDER
 2
     Pursuant to the above Stipulation, IT IS SO ORDERED.
 3   Dated this 21st day of December, 2021.
 4                                                         A
                                                        ____________________________
                                                        Thomas S. Zilly
 5                                                      United States District Judge

 6   Presented by:
 7
     By: s/ Benjamin T.G. Nivision
 8   Benjamin T.G. Nivision, WSBA Bar No. 39797
     ROSSI VUCINOVICH, P.C.
 9   1000 2nd Ave #1780
     Seattle, WA 98104
10   Telephone: (425) 646-8003
     Facsimile: (425) 646-8004
11
     bnivison@rvflegal.com
12
     Robert V. Prongay
13   Charles H. Linehan
     Pavithra Rajesh
14   GLANCY PRONGAY & MURRAY LLP
     1925 Century Park East, Suite 2100,
15
     Los Angeles, CA 90067
16   Email: rprongay@glancylaw.com
     Email: clinehan@glancylaw.com
17   Email: prajesh@glancylaw.com
18   Counsel for Plaintiff
19

20

21

22

23

24

25

26
     STIPULATION EXTENDING TIME TO RESPOND TO                                 Perkins Coie LLP
     COMPLAINT AND SETTING BRIEFING SCHEDULE                            1201 Third Avenue, Suite 4900
     (No. 2:21-cv-01551-TSZ) – 5                                           Seattle, WA 98101-3099
                                                                            Phone: (206) 359-8000
                                                                             Fax: (206) 359-9000
               Case 2:21-cv-01551-TSZ Document 13 Filed 12/21/21 Page 6 of 6




 1   By: s/ Sean C. Knowles
     Sean C. Knowles, WSBA No. 39893
 2   PERKINS COIE LLP
 3   1201 Third Avenue, Suite 4900
     Seattle, WA 98101
 4   (206) 359-8000
     SKnowles@perkinscoie.com
 5
     Of Counsel:
 6
     Peter B. Morrison (pro hac vice application forthcoming)
 7   Virginia F. Milstead (pro hac vice application forthcoming)
     Raza Rasheed (pro hac vice application forthcoming)
 8   SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
     300 South Grand Avenue, Ste. 3400
 9   Los Angeles, CA 90071
     Tel: (213) 687-5000
10   Facsimile: (213) 521-5000
11   Peter.Morrison@skadden.com
     Virginia.Milstead@skadden.com
12   Raza.Rasheed@skadden.com

13   Counsel for Defendants
     Zillow Group, Inc., Richard Barton,
14   Allen Parker, and Jeremy Wacksman
15

16

17

18

19

20

21

22

23

24

25

26
     STIPULATION EXTENDING TIME TO RESPOND TO                            Perkins Coie LLP
     COMPLAINT AND SETTING BRIEFING SCHEDULE                       1201 Third Avenue, Suite 4900
     (No. 2:21-cv-01551-TSZ) – 6                                      Seattle, WA 98101-3099
                                                                       Phone: (206) 359-8000
                                                                        Fax: (206) 359-9000
